Case 8:19-cv-00098-JLS-DFM Document 40 Filed 06/21/19 Page 1 of 6 Page ID #:185



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   6
       Attorneys for Defendant
   7 POWERLINE FUNDING LLC

   8
                     IN THE UNITED STATES DISTRICT COURT
   9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                          SOUTHERN DIVISION

  11 MARIANO BENITEZ, individually

  12 and on behalf of others similarly         Case No. 8:19-cv-00098
       situated,
  13                                           NOTICE OF MOTION AND
  14               Plaintiff,                  MOTION FOR LEAVE TO
                                               WITHDRAW AS COUNSEL OF
  15         vs.                               RECORD FOR DEFENDANT
  16                                           POWERLINE FUNDING LLC;
       POWERLINE FUNDING LLC, a New            MEMORANDUM OF POINTS AND
  17 York limited liability company,           AUTHORITIES; DECLARATION
  18                                           OF ALAN M. RITCHIE
                   Defendants.
  19                                           Date:        July 5, 2019
  20                                           Time:        10:30 a.m.
                                               Judge:       Hon. Josephine L. Staton
  21                                           Location:    Courtroom 10A
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              NOTICE OF MOTION AND MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR DEFENDANT
                             POWERLINE FUNDING LLC; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:19-cv-00098-JLS-DFM Document 40 Filed 06/21/19 Page 2 of 6 Page ID #:186



   1                         NOTICE OF MOTION AND MOTION
   2 TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:

   3
             PLEASE TAKE NOTICE that on July 5, 2019, at 10:30 a.m., or as soon as
   4
       the matter may be heard, before the Honorable Josephine L. Staton, in Courtroom
   5

   6
       10A of the United States District Court for the Central District of California,

   7 Southern Division, 411 W. Fourth St., Santa Ana, California, Alan M. Ritchie of

   8 Pilgrim Christakis LLP will and hereby does seek leave of this Court to withdraw as

   9 counsel for Defendant Powerline Funding LLC (“Powerline”).

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             This Motion is made pursuant to Local Rule 83-2.3.2 on the grounds that
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       professional considerations require termination of the representation. Undersigned
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       counsel is limited in its ability to provide additional information due to

  14 confidentiality considerations. See Cal. R. Prof. Conduct 1.6.

  15         Pursuant to Local Rule 83-2.3.2 and 83-2.3.4, written notice of this Motion
  16 and the consequences of Powerline’s inability to appear pro se as a corporate entity

  17
       was provided to Powerline.
  18
             Pursuant to Local Rule 7-3, the undersigned counsel also conferred with
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  20
       counsel for Plaintiff Mariano Benitez (“Plaintiff”), and Plaintiff does not oppose this

  21 Motion.

  22         This Motion is based on this Notice of Motion and Motion, the accompanying
  23 Memorandum of Points and Authorities, the Declaration of Alan M. Ritchie, all

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       pleadings and papers on file with the Court in this case, and on such matters as may
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       be presented to the Court at or before the hearing of this Motion.
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              NOTICE OF MOTION AND MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR DEFENDANT
                             POWERLINE FUNDING LLC; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:19-cv-00098-JLS-DFM Document 40 Filed 06/21/19 Page 3 of 6 Page ID #:187



   1   Dated: June 21, 2019              Respectfully submitted,
   2
                                         By: /s/ Alan M. Ritchie
   3

   4
                                         Alan M. Ritchie (298989)
                                         aritchie@pilgrimchristakis.com
   5                                     Pilgrim Christakis LLC
   6                                     321 N. Clark Street, 26th Floor
                                         Chicago, Illinois 60654
   7                                     Telephone: (312) 924-1773
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            NOTICE OF MOTION AND MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR DEFENDANT
                           POWERLINE FUNDING LLC; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:19-cv-00098-JLS-DFM Document 40 Filed 06/21/19 Page 4 of 6 Page ID #:188



   1                  MEMORANDUM OF POINTS AND AUTHORITIES
   2                                     INTRODUCTION
   3
                 By this Motion, Pilgrim Christakis LLP seeks to withdraw as counsel of
   4
       record for Defendant Powerline Funding LLC (“Powerline”). Good cause exists to
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   6
       grant the Motion because professional considerations require termination of the

   7 representation. Counsel is limited in its ability to provide additional information

   8 due to confidentiality considerations. See Cal. R. Prof. Conduct 1.6.

   9           Allowing counsel to withdraw will not prejudice any party, nor will it cause
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       any undue delay or harm. Plaintiff Mariano Benitez (“Plaintiff”) does not oppose
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       this Motion and, under Local Rule 83-2.3.2 and 83-2.3.4, counsel provided notice of
  12

  13
       this Motion and the consequences of Powerline’s inability to appear pro se as a

  14 corporate entity. Finally, this matter is still in its infancy: a scheduling order was

  15 just recently entered on June 19, 2019, 1 and the parties have not yet exchanged any

  16 formal written discovery.

  17
               Accordingly, for the reasons discussed below, counsel should be granted
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       leave to withdraw as counsel of record for Powerline.
  19

  20
                                       LEGAL STANDARD

  21           Under the Local Rules, “[a]n attorney may not withdraw as counsel except by
  22 leave of court. A motion for leave to withdraw must be made upon written notice

  23 given reasonably in advance to the client and to all other parties who have appeared

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       in the action.” C.D. Cal. R. 83-2.3.2. “The motion for leave to withdraw must be
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       supported by good cause,” id., and “[u]nless good cause is shown and the ends of
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       1
  28       See Dkt. No. 37.
                                                   4
                NOTICE OF MOTION AND MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR DEFENDANT
                               POWERLINE FUNDING LLC; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:19-cv-00098-JLS-DFM Document 40 Filed 06/21/19 Page 5 of 6 Page ID #:189



   1 justice require, no substitution or relief of attorney will be approved that will cause

   2 delay in prosecution of the case to completion,” C.D. Cal. R. 83-2.3.5.

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               “The decision to grant or deny counsel’s motion to withdraw is committed to
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       the sound discretion of the trial court.” Wimo Labs LLC v. eBay Inc., 2016 WL
   5

   6
       11507544 (C.D. Cal. April 12, 2016) (citations omitted). “In ruling on a motion to

   7 withdraw as counsel, district courts generally consider: (1) the reasons why

   8 withdrawal is sought; (2) the prejudice withdrawal may cause to other litigants; (3)

   9 the harm withdrawal might cause to the administration of justice; and (4) the degree

  10
       to which withdrawal will delay the resolution of the case.” Id.
  11
                  GOOD CAUSE EXISTS TO GRANT COUNSEL’S MOTION
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               Here, good cause exists to grant counsel leave to withdraw. Professional

  14 considerations require termination of the representation. (Declaration of Alan M.

  15 Ritchie (“Ritchie Decl.”) ¶ 2.) Counsel is limited in its ability to provide additional

  16 information due to confidentiality considerations. See Cal. R. Prof. Conduct 1.6.

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               Moreover, allowing counsel to withdraw will not materially prejudice
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       Plaintiff or Powerline, nor will it cause any undue delay or harm. Indeed, Plaintiff
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       does not oppose the Motion; and under Local Rule 83-2.3.2 and 83-2.3.4, counsel

  21 provided written notice to Powerline of the consequences of its inability to appear

  22 pro se as a corporate entity. (Ritchie Decl. ¶¶ 3-4.) Furthermore, this matter is still

  23 in its infancy: a scheduling order was only recently entered, 2 and the parties have

  24
       not yet exchanged any formal written discovery. Accordingly, counsel should be
  25
       granted leave to withdraw.
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  28       See Dkt. No. 37.
                                                  5
                NOTICE OF MOTION AND MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR DEFENDANT
                               POWERLINE FUNDING LLC; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:19-cv-00098-JLS-DFM Document 40 Filed 06/21/19 Page 6 of 6 Page ID #:190



   1                                     CONCLUSION
   2         For the reasons set forth above, counsel respectfully requests that the Court
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       grant his request for leave to withdraw as counsel for Powerline.
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   5

   6   Dated: June 21, 2019                   Respectfully submitted,
   7                                          By: /s/ Alan M. Ritchie
   8
                                              Alan M. Ritchie (298989)
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                                              aritchie@pilgrimchristakis.com
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              NOTICE OF MOTION AND MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR DEFENDANT
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